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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF NEW YORK




STATE OF NEW YORK, et al.,

               Plaintiffs,

       v.                                       No. 1:18-cv-2921 (JMF)

UNITED STATES DEPARTMENT OF
COMMERCE, et al.,

               Defendants.



                   MEMORANDUM OF LAW IN SUPPORT OF
                    DEFENDANTS’ MOTION TO DISMISS
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                                          INTRODUCTION
        The relief sought in this suit—an order barring the Secretary of Commerce from collecting

demographic information through the decennial census—is as extraordinary as it is unprecedented.

The Constitution vests in the political branches of government discretion to decide the manner in

which the census is conducted. In the exercise of that discretion, the Secretary decided to reinstate a

question about U.S. citizenship on the 2020 decennial census. Not only has citizenship information

historically been collected as far back as 1820, but citizenship information also forms an important

component of enforcing the Voting Rights Act of 1965. Plaintiffs’ claim that the Constitution

precludes the Secretary from simply asking a question fails for at least four reasons.

        First, Plaintiffs lack standing to challenge the Secretary’s decision to add a citizenship question

to the decennial census. Plaintiffs’ claimed injuries of lost representation in Congress and decreased

federal funding, based on their allegation that adding the citizenship question will reduce response

rates, are too speculative to confer Article III standing. And even if Plaintiffs could allege injuries that

are concrete and non-speculative, those injuries would be not be fairly traceable to the Secretary’s

decision, as they would be attributable instead to the independent decisions of individuals who

disregard their legal duty to respond to the census.

        Second, Plaintiffs’ challenge is unreviewable under the political question doctrine. The

Constitution textually commits the “[m]anner” of conducting the census to Congress, and it contains

no judicially discoverable or manageable standards for determining which demographic questions may

be included on the census form. That question involves policy determinations that are ill-suited for

judicial resolution and that the Constitution expressly commits to the political branches. Plaintiffs’

challenge elides the serious separation-of-powers concerns that would be implicated by a court order

dictating the form and content of the decennial census questionnaire.
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       Third, Plaintiffs are similarly barred from proceeding under the Administrative Procedure Act

because the form and content of the census is committed to the Secretary’s discretion by law.

“Congress has delegated its broad authority over the census to the Secretary [of Commerce],” Wisconsin

v. City of NY, 517 U.S. 1, 19 (1996), and it has done so in broad terms: Congress authorized the

Secretary to conduct the decennial census “in such form and content as he may determine,” 13 U.S.C.

§ 141(a), and to obtain other demographic information through that device, id. These broad

delegations leave a court with no meaningful standard to apply and accordingly preclude judicial review

of which demographic questions the Secretary decides to include on the decennial census form.

       Fourth, Plaintiffs cannot state a claim for relief under the Constitution’s Enumeration Clause.

U.S. Const. art. I, § 2, cl. 3. The Secretary has developed comprehensive plans to conduct a person-

by-person headcount of the population, and there is no allegation that he has failed to put in place

procedures to count the population, all of whom are under a legal obligation to answer. The Secretary’s

decision to reinstate a citizenship question is consistent with the longstanding historical practice of

asking about citizenship and other demographic information, whereas Plaintiffs’ theory would call

into question the constitutionality of asking any demographic questions—e.g., about sex, Hispanic

origin, race, or relationship status—that are unnecessary to count the population and that could cause

at least some individuals not to respond for any of various reasons, such as discomfort with the

question or increased time needed to answer.

       For all of these reasons, this action should be dismissed.

                                         BACKGROUND

I.     CONSTITUTIONAL AND STATUTORY AUTHORITY FOR THE CENSUS

       The U.S. Constitution requires that an “actual enumeration” of the population be conducted

every 10 years and vests Congress with the authority to conduct that census “in such Manner as they

shall by Law direct.” U.S. Const. art. I § 2, cl. 3. Through the Census Act, Congress has delegated to


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the Secretary of Commerce the responsibility to conduct the decennial census “in such form and

content as he may determine,” 13 U.S.C. § 141(a), and has “authorized [him] to obtain such other

census information as necessary,” id. The Bureau of the Census assists the Secretary in the

performance of this responsibility. See id. §§ 2, 4. As required by the Constitution, a national census of

the U.S. population has been conducted every 10 years since 1790. U.S. Census Bureau, Questions

Planned for the 2020 Census and American Community Survey, at 1 (Mar. 2018), https://www2.

census.gov/library/publications/decennial/2020/operations/planned-questions-2020-acs.pdf

(“Questions Planned”).

        The Act directs that the Secretary “shall prepare questionnaires, and shall determine the

inquiries, and the number, form, and subdivisions thereof, for the statistics, surveys, and censuses

provided for in this title.” 13 U.S.C. § 5. Nothing in the Act, however, directs the precise content of

the questions that are to be included on the decennial census questionnaire. The Act imposes a legal

duty on all persons to respond to the census. See id. § 221.

II.     HISTORY OF INCLUSION OF A CITIZENSHIP QUESTION

        Throughout our history, the United States has used the census to collect additional

information beyond the population count “in response to the challenges facing the nation and a

national desire to understand ourselves.” Questions Planned, supra, at 1. This has included, for many

decennial censuses, information about foreign birth, naturalization, and citizenship.

        Beginning in 1820, the Census was used to tabulate citizenship by inquiring of each household

the number of “foreigners not naturalized.” See U.S. Census Bureau, Measuring America: The

Decennial Censuses From 1790 to 2000, at 6, https://www2.census.gov/library/publications




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/2002/dec/pol_02-ma.pdf (“Measuring America”). 1 With the exception of 1840, censuses from 1820

to 1880 asked for citizenship or birthplace in some form. 2 Decennial censuses from 1890 through

1950 specifically requested citizenship information more consistently. The 1890 Census asked for the

place of birth of the respondent and his or her parents and, for adult males of foreign birth 21 years

or older, the number of years the individual had resided in the United States, whether he had

naturalized, or, if not, whether naturalization papers had been taken out. Measuring America, at 22,

28. The 1900, 1910, 1920, and 1930 Censuses asked, with some variations, for the birthplaces of the

individual and his or her parents, the year of immigration for all foreign-born individuals, and, for any

adult male of foreign birth 21 years or older, whether he had naturalized or was an alien. Id. at 34, 37;

id at 45, 49; id. at 58; id. at 59. The next two enumerations asked for the individual’s place of birth and

either (in 1940) for the citizenship of all foreign-born individuals or (in 1950) whether a foreign-born

individual had naturalized. Id. at 62; id. at 66. The 1940 census also began the practice of sampling a

portion of the population to collect some information, though the answers for all individuals were

entered on the same form. Thus, the 1940 and 1950 Censuses asked only some of the population for

the birthplaces of their parents. Id. at 62-63 (1940, 5%); id. at 66, 68 (1950, 20%).

        The 1950 Census is the last one to have asked all respondents for citizenship status. In 1960,



        1
            The Court may take judicial notice of the undisputed historical facts concerning the census
and other related surveys presented herein. See Effie Film, LLC v. Pomerance, 909 F. Supp. 2d 273, 298
(S.D.N.Y. 2012).
          2
            In 1830, the Census asked whether individuals were “foreigners not nationalized.” Measuring
America at 7. No question regarding birthplace or citizenship status was included in the 1840 Census.
Id. at 8. In the 1850, 1860, and 1880 enumerations, the questionnaires asked for place of birth (though
not citizenship per se). Id. at 9, 11, 13. The Census included an express question regarding citizenship
in 1870, along with questions about the individual’s place of birth, whether either parent was of foreign
birth, and whether the individual was a “Male citizen of U.S. 21 years of age and upwards.” Id. at 13,
15. (If the answer to the latter question was yes, the questionnaire then asked whether that person’s
voting rights had been abridged, to enforce the requirement of section 2 of the recently ratified
Fourteenth Amendment, providing for the basis of a state’s apportionment to be reduced proportional
to the numbers of males whose voting rights had been denied or abridged. Id. at 13; see U.S. Const.
amend. XIV, § 2.)
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the Census Bureau asked 25% of the population for the birthplace of the respondent and his or her

parents, though naturalization status was not requested. Measuring America at 72-73. In 1970, the first

year respondents were asked to mail back the questionnaire, 20% of the population were asked for

their birthplace, 15% were asked for parents’ birthplace, and 5% were asked whether the individual, if

foreign born, had naturalized. Id. at 78. The questionnaires asking for more detailed information from

a sample of the population were called, in this and subsequent enumerations, the “long-form

questionnaire.” See U.S. Census Bureau, Questionnaires, https://www.census.gov/history/

www/through_the_decades/questionnaires/. In 1980, 1990, and 2000, the long form, which

approximately 1 in 6 households received instead of the short form, asked for the individual’s

birthplace, and foreign-born persons were asked either whether they had naturalized (1980) or whether

they were citizens (1990, 2000). See id.; Measuring America, at 91-92. The corresponding “short-form

questionnaire,” sent to the majority of households, did not ask for birthplace or citizenship status in

those years.

        Beginning in 2005, in order to provide communities, businesses, and the public with more-

timely statistical information, the Census Bureau began collecting monthly (and releasing annually) the

more extensive long-form data through the American Community Survey (“ACS”), which is sent

yearly to a sample of the population—about one in 38 households. Information regarding national

origin and citizenship has been collected through the ACS every year since 2005. See U.S. Census

Bureau, Archive of American Community Survey Questions, https://www.census.gov/programs-

surveys/acs/methodology/questionnaire-archive.html (“ACS Questionnaire Archive”) (noting

citizenship questions on every ACS questionnaire). The replacement of the long-form questionnaire

with the yearly ACS enabled the 2010 census to be a “short-form-only” census. The 2020 census will

also be a “short-form-only” census. The ACS will continue to be distributed each year, as usual, to

collect additional data. https://www.census.gov/programs-surveys/acs/about/acs-and-census.html.

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       In recent decades, the Census Bureau has obtained citizenship data consistently through the

long-form questionnaire and, since 2005, the yearly American Community Survey. 3 Because the ACS

collects information from only a sample of the population, it produces annual estimates only for

census tracts and census block groups. See https://www.census.gov/newsroom/blogs/random-

samplings/2011/07/what-are-census-blocks.html. The decennial census attempts a full count of the

population and produces population counts as well as counts of other, limited information (such as

race) down to the smallest level, known as the “census block.” See https://www.census.gov/geo/

reference/webatlas/blocks.html. The Census Bureau currently provides the Department of Justice

(“DOJ”) with estimated citizenship data at the “census block group” level, which is a collection of

census blocks.

III.   REINSTATEMENT OF A CITIZENSHIP QUESTION IN THE 2020 CENSUS

       On March 26, 2018, after taking a hard look and considering input from a variety of sources,

the Secretary of Commerce issued a memorandum reinstating a citizenship question on the 2020

Census questionnaire. 4 Memorandum to Karen Dunn Kelley, Under Secretary for Economic Affairs,

from the Sec’y of Commerce on Reinstatement of a Citizenship Question on the 2020 Decennial

Census Questionnaire at 1 (Mar. 26, 2018) (“Ross Memo”), cited in FAC ¶ 3. The Secretary determined

that the census should collect such information in order to provide DOJ with census-block-level data

to assist in enforcing section 2 of the Voting Rights Act (“VRA”), now codified at 52 U.S.C. § 10301.

Id. at 1. In December 2017, DOJ had “formally request[ed] that the Census Bureau reinstate on the

2020 census questionnaire a question regarding citizenship.” Letter from Arthur Gary, General

Counsel, DOJ, to Ron Jarmin, performing the nonexclusive duties of the Director, U.S. Census



       3
          Citizenship information has also been obtained through the Survey of Income and Program
Participation and the Annual Social and Economic Supplement of the Current Population Survey.
        4
          As the First Amended Complaint (“FAC”) makes clear, the Census Bureau has periodically
assessed whether reinstatement of such a question is appropriate. FAC ¶¶ 40-44.
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Bureau, at 3 (Dec. 12, 2017) (“Gary Letter”), cited in FAC ¶ 94. DOJ had explained that citizenship

“data is critical to the Department’s enforcement of Section 2 of the Voting Rights Act” and that “the

decennial census questionnaire is the most appropriate vehicle for collecting that data” because it

would provide census-block-level citizenship voting age population (“CVAP”) data that are not

currently available from the ACS surveys (which provide data only at the larger census block group

level). Id. DOJ explained that having citizenship data at the census block level will permit more

effective enforcement of the Act. Id. at 1-2.

        The Secretary first emphasized the goal of conducting a complete and accurate decennial

census. Ross Memo, at 1. The Secretary also observed that, as detailed above, collection of citizenship

data in the decennial census has a long history and that the ACS has included a citizenship question

since 2005. Id. at 2. The Secretary therefore found that “the citizenship question has been well tested.”

Id. He also confirmed with the Census Bureau that census-block-level citizenship data are not available

using the annual ACS. Id.

        The Secretary asked the Census Bureau to evaluate the best means of providing the data

requested by DOJ, and the Census Bureau initially presented three alternatives: Option A would have

continued the status quo and provided DOJ with ACS citizenship data at the census-block-group

level, rather than the block level requested in the Gary letter; Option B would have placed the ACS

citizenship question on the decennial census, which goes to every American household; and Option

C instead would have provided block-level citizenship data for the entire population using existing

federal administrative-record data. 5 Ross Memo, at 2-4. In his decision memo, the Secretary found




        Administrative records include data from the Internal Revenue Service, the Social Security
        5

Administration, the Centers for Medicare and Medicaid Services, the Department of Housing and
Urban Development, the Indian Health Service, the Selective Service, and the U.S. Postal Service.
2020 Census Operational Plan, at 22-26. Administrative records will be utilized only if the data is
corroborated by at least two sets of records.
                                                   7
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that Option A would not provide DOJ with improved CVAP data, as there was no guarantee that the

accuracy or level of detail of the ACS data could be enhanced to meet DOJ’s requirements even using

sophisticated modeling methods. Id. at 2-3. After discussing Options B and C, id. at 3-4, the Secretary

indicated that he had asked the Census Bureau to develop and implement a fourth alternative, Option

D, which would effectively combine Options B and C. Id. at 4. Under this fourth option, a citizenship

question would be reinstated on the decennial census in the same form as it appears on the ACS,

imposing on each of the country’s inhabitants the legal obligation to self-respond. Id. at 4-5. The

Secretary directed the Census Bureau to work to further enhance its administrative-record data sets,

protocols, and statistical models to maximize its ability to match the decennial census responses with

administrative records. Id. at 4. The combination of responses to the question and more-developed

practices for comparing those responses with administrative records would then permit the Census

Bureau to determine the inaccurate response rate (whether for non-response, conflicting responses,

or other reasons) for the entire population. Id. at 5. The Secretary concluded that this combined option

would provide DOJ with the most complete and accurate CVAP data. Id.

       In addition to discussing the operational aspect of DOJ’s request with the Census Bureau, the

Secretary closely considered stakeholder views. He reviewed letters from local, state, and federal

officials and advocacy groups, monitored stakeholder commentary in the press, and spoke personally

to interested parties on both sides of the issue. Ross Memo, at 1-2. In particular, the Secretary

considered but rejected concerns raised by a number of parties that reinstating a citizenship question

on the decennial census would negatively impact the response rate for noncitizens. Id. at 3-4, 5-6.

While the Secretary agreed that a “significantly lower response rate by non-citizens could reduce the

accuracy of the decennial census and increase costs for non-response follow up operations,” id. at 3,

he concluded that “neither the Census Bureau nor the concerned stakeholders could document that

the response rate would in fact decline materially” as a result of reinstatement of the citizenship

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question. Id. Based on his discussions with outside parties, Census Bureau leadership and others within

the Department of Commerce, the Secretary determined that, to the best of everyone’s knowledge,

limited empirical data exists on how reinstatement of a citizenship question might impact response

rates on the 2020 census. Id. at 3, 5. Thus, “while there is widespread belief among many parties that

adding a citizenship question could reduce response rates, the Census Bureau’s analysis did not

provide definitive, empirical support for that belief.” Id. at 4; see also id. at 5-6.

        Certain stakeholders informed the Secretary that reinstating a citizenship question could

negatively impact response rates because of heightened, general distrust of the government. But the

Secretary concluded that those commenters referred to individuals who may decline to participate

regardless of whether the census includes a citizenship question and noted that “no one provided

evidence that there are residents who would respond accurately to a decennial census that did not

contain a citizenship question but would not respond if it did.” Ross Memo, at 5. The Secretary further

observed that, based on past experience, “certain interest groups consistently attack the census and

discourage participation.” Id. at 6. The Secretary explained that the Census Bureau intends to take

steps to conduct respondent and stakeholder-group outreach in an effort to mitigate the impact of the

foregoing issues on the 2020 decennial census. Id.

        Finally, the Secretary explained his decision not to implement Option C, which would have

relied solely on administrative records without reinstating a citizenship question. Ross Memo, at 4.

The Secretary noted that the use of administrative records is still evolving, and that the Census Bureau

does not yet have a complete data set for the entire population; in fact, based on the credible

administrative record data identified by the Census Bureau in the 2010 Census, some 25 million

voting-age people would need to have their citizenship status imputed by the Census Bureau if not

given the opportunity to self-respond. Id. Reliance on administrative records alone thus would not

provide DOJ with the complete and accurate block-level CVAP data it requested. Id.

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        The citizenship question is not the only question beyond the total number of persons residing

at a location that the 2020 census questionnaire will pose. For example, the questionnaire also will ask

questions regarding sex, Hispanic origin, race, and relationship status. See Questions Planned, at 13.

Plaintiffs do not challenge the Secretary’s decision to include any of those questions.

IV.     2020 CENSUS PROCEDURES AND PLANNED EFFORTS TO MINIMIZE
        NON-RESPONSE

        The Department of Commerce and the Census Bureau have extensive plans in place to

maximize self-response and thereby minimize the amount of non-response follow up. The 2020

census will be the first to rely extensively on digital methods and automation. It will be the first census

where individuals are encouraged to respond online. 2020 Census Operational Plan: A New Design

for the 21st Century, at 15, 18-19, 26, 88 (Sept. 2017, v.3.0), https://www2.census.gov/programs-

surveys/decennial/2020/program-management/planning-docs/2020-oper-plan3.pdf (“2020 Census

Operational Plan”). Most housing units will receive several short mailings instructing them to

complete the census either online or by telephone. Id. at 18, 21. Individuals will be able to respond

online and online forms will be provided in multiple languages. Id. at 19, 98. If households do not

respond by the fourth mailing, the full paper questionnaire will be sent. 6 Id. at 99. Housing units that

are less likely to have Internet access will receive a full paper questionnaire in the first mailing, to allow

them to respond immediately via mail. Id. at 91, 95.

        Each household will receive up to six mailings, if necessary. 2020 Census Operational Plan, at

99. If no response has been received after the fifth mailing, a census enumerator will be assigned to

that address. Id. at 114. The enumerator will personally visit all units to which he or she is assigned to

verify that the address is occupied and to attempt to contact a household member to complete the

questionnaire. Id. If the enumerator is not able to complete the questionnaire, administrative records


        In particularly hard-to-reach areas, census questionnaires will be hand delivered. 2020 Census
        6

Operational Plan, at 102-05.
                                                     10
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will be used to identify vacant housing units and determine response data for occupied households

where the Census Bureau has high-quality administrative records. Id. at 22, 114, 117. If such records

do not exist, a final postcard encouraging self-response will be mailed, and all addresses still non-

responsive will be subject to up to six contact attempts, with eligibility to have the data obtained from

a proxy (such as a neighbor or landlord) after the third unsuccessful attempt. Id.

        The Census Bureau also plans to mount extensive publicity and outreach campaigns, in which

it will work with units of local government, the media, and community-based organizations to

encourage people to respond to the census. 2020 Census Operational Plan, at 92-95. Through that

outreach the Census Bureau also regularly reiterates its commitment to preserving the confidentiality

of the data it collects as required by statute. Id. at 19; see 13 U.S.C. § 9.

                                         LEGAL STANDARDS

        To survive a motion to dismiss under Rule 12(b)(1), a plaintiff bears the burden of establishing

the court’s jurisdiction through sufficient allegations. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 561

(1992). Courts should “presume that [they] lack jurisdiction unless the contrary appears affirmatively

from the record.” Renne v. Geary, 501 U.S. 312, 316 (1991) (citations omitted). In deciding a Rule

12(b)(1) motion, the district court may refer to evidence outside the pleadings, such as documents or

affidavits, without converting the motion to one for summary judgment. All. for Envtl. Renewal, Inc. v.

Pyramid Crossgates Co., 436 F.3d 82, 88 n.8 (2d Cir. 2006).

        To survive a motion to dismiss under Rule 12(b)(6), a plaintiff’s complaint must contain

“enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007). This “plausibility” standard “asks for more than a sheer possibility that a defendant

has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). In considering a motion under Rule

12(b)(6), “a district court may consider the facts alleged in the complaint, documents attached to the

complaint as exhibits, . . . documents incorporated by reference in the complaint[,]” “document[s]

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‘integral’ to the complaint,” and “matters of which judicial notice may be taken.” MMA Consultants 1,

Inc. v. Republic of Peru, 245 F. Supp. 3d 486, 498 (S.D.N.Y. 2017) (citations omitted). Further, “when

faced with a motion to dismiss in the APA context, a court may consider the administrative record

and public documents without converting the motion into a motion for summary judgment,” Bates v.

Donley, 935 F. Supp. 2d 14, 17 (D.D.C. 2013) (citing Rempfer v. Sharfstein, 583 F.3d 860, 865 (D.C. Cir.

2009)).

                                                ARGUMENT

          In seeking to invalidate the Secretary’s decision to reinstate a question about citizenship on

the decennial census form, Plaintiffs ask the Court to second-guess the Secretary’s judgment about

how to exercise authority that has been delegated to him by the Constitution through Congress—a

particularly troublesome request because the relief requested would intrude deeply into matters

textually committed to the discretion of the political branches of government.

          Plaintiffs’ request is not justiciable for multiple reasons. As an initial matter, Plaintiffs’ claimed

injuries are insufficient to confer standing because they are highly speculative and because any injury

would not be fairly traceable to the challenged decision, but instead would be attributable to the

independent, unlawful actions of third parties. But even if Plaintiffs could clear the standing hurdle,

the Constitution commits the “[m]anner” of conducting the census to Congress, and Congress has

delegated that authority to the Secretary in such broad terms that there is no judicially discernible

standard against which to measure the Secretary’s exercise of his discretion. Plaintiffs’ challenge to the

Secretary’s decision thus presents a nonjusticiable political question, and the decision at issue is

committed to agency discretion by law and unreviewable under the APA. And lastly, Plaintiffs fail to

state a claim under the Enumeration Clause of the Constitution because the Secretary has wide

discretion to control the content of the Census, and to determine the method to count every person.

This case should be dismissed.

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I.      THIS CASE IS NOT JUSTICIABLE

        A.      Plaintiffs Lack Standing to Maintain this Action.

        The doctrine of constitutional standing, an essential aspect of the Article III case-or-

controversy requirement, demands that a plaintiff have “a personal stake in the outcome of the

controversy [so] as to warrant his invocation of federal-court jurisdiction.” Warth v. Seldin, 422 U.S.

490, 498 (1975). At its “irreducible constitutional minimum,” the doctrine requires a plaintiff, as the

party invoking the Court’s jurisdiction, to establish three elements: (1) a concrete and particularized

injury-in-fact, either actual or imminent; (2) a causal connection between the injury and defendants’

challenged conduct, such that the injury is “fairly traceable to the challenged action of the defendant”;

and (3) a likelihood that the injury suffered will be redressed by a favorable decision. Defs. of Wildlife,

504 U.S. at 560. The “elements are conjunctive, so that a failure of any of the three elements deprives

a plaintiff of standing to maintain an action in federal court.” Dickerson v. Feldman, 426 F. Supp. 2d

130, 134 (S.D.N.Y. 2006).

        As the party invoking federal jurisdiction, the plaintiff bears the burden of establishing the

required elements of standing “with the manner and degree of evidence required at the successive

stages of the litigation.” Defs. of Wildlife, 504 U.S. at 561. “At the pleading stage, general factual

allegations of injury resulting from the defendant’s conduct may suffice,” id., but “a plaintiff cannot

rely solely on conclusory allegations of injury.” Baur v. Veneman, 352 F.3d 625, 637 (2d Cir. 2003); see

also FW/PBS, Inc. v. Dallas, 493 U.S. 215, 231 (1990) (“it is the burden of the ‘party who seeks the

exercise of jurisdiction in his favor,’ . . . ‘clearly to allege facts demonstrating that he is a proper party

to invoke judicial resolution of the dispute.’” (citation omitted)).

        Plaintiffs have not met their burden here. Plaintiffs’ allegations of injury are too speculative to

satisfy the injury-in-fact requirement. In addition, Plaintiffs fail the causation prong of the standing




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inquiry because they have not established that their alleged injuries fairly can be traced to government

action rather than the independent actions of third parties.

        1.   Plaintiffs’ allegations of injury are too speculative.

        The standing requirement of “injury in fact” requires an allegation that “the plaintiff ‘has

sustained or is immediately in danger of sustaining a direct injury’” as a result of the challenged action.

Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1552 (2016) (citations omitted). The injury or threat of injury

must be “concrete and particularized,” Defs. of Wildlife, 504 U.S. at 560 (citations omitted), and not

“merely ‘conjectural’ or ‘hypothetical’ or otherwise speculative.” Summers v. Earth Island Inst., 555 U.S.

488, 505 (2009) (quoting Defs. of Wildlife, 504 U.S. at 560). Thus, an alleged future injury must be

“certainly impending”; ‘“[a]llegations of possible future injury’ are not sufficient.” Clapper v. Amnesty Int’l

USA, 568 U.S. 398, 409 (2013) (quoting Whitmore v. Arkansas, 495 U.S. 149, 158 (1990), emphasis in

Clapper).

        Plaintiffs’ claimed injuries here, stemming from predictions about non-responses to census

questions, are not “certainly impending” and are too speculative to demonstrate the necessary injury-

in-fact. Plaintiffs claim that the reinstatement of the citizenship question on the decennial census could

increase non-response rates, particularly in hard-to-count populations, and, as a result, “increases the

risk of undercounting both citizens and noncitizens” disproportionately in their communities. FAC

¶¶ 103, 136. This undercount, they aver, will deprive them of their fair share of federal funding

stemming from a variety of federal programs, and also will deprive them of healthcare funding and

programs and of access to private funding. Id. ¶¶ 137-149, 167-175. Plaintiffs also contend that the

alleged undercount will create errors in redistricting, thereby impairing the right to equal representation

for residents of under-counted districts, and will threaten Plaintiff states with loss of representation in

the U.S. House of Representatives. Id. ¶¶ 150-162. Finally, they assert that they will have to expend




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significant resources to combat the anticipated undercount by encouraging residents to respond to the

census despite the addition of the new question. Id. ¶¶ 163-166.

        At the outset, Plaintiffs’ claims of injury are premised on their belief that the addition of the

citizenship question will ultimately cause a net decrease in the response rate for the 2020 census. See, e.g.,

FAC ¶¶ 103, 136, 137, 148. This assertion is entirely speculative, however. As Secretary Ross points

out, there is little “definitive, empirical” evidence regarding the effect of adding a citizenship question

to the decennial census. Ross Memo, at 3; see also id. at 4-6. Indeed, as the Secretary confirmed with

the Census Bureau, non-response rates for the citizenship question on the 2013-2016 ACS surveys

were comparable to non-response rates for other questions on those same surveys. Id. at 3. As

Plaintiffs themselves recognize, households historically have failed to respond in fairly high numbers

for a variety of reasons, even when no citizenship question was included. See FAC ¶ 33 (citing

undercount numbers for the 1990, 2000, and 2010 Censuses). Plaintiffs do not provide any reason to

conclude that households who otherwise would respond in 2020 would now choose not to do so

because of the citizenship question and even admit that there already are anxieties in the population

“likely to present a barrier to participation in the 2020 Census.” FAC ¶ 51. As the Secretary noted,

there are many individuals who would decline to participate regardless of whether the census included

a citizenship question, and “no one provided evidence that there are residents who would respond

accurately to a decennial census that did not contain a citizenship question but would not respond if

it did.” Ross Memo, at 5.

        Thus, Plaintiffs merely speculate that the reinstatement of a citizenship question alone will

reduce self-response rates. Moreover, Plaintiffs ignore that the Census Bureau has extensive

procedures in place to address non-response and to obtain accurate data for those households that

decline to respond. Indeed, the Census Bureau plans to increase outreach to address the potential for

non-responses (whatever the reason), and is investing in extensive procedures to meet any non-

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response challenge. It is entirely unknown (and unknowable) at present whether any initial decrease in

self-response rates will result in an undercount at the close of the 2020 census, after the Census Bureau

has completed all its processes for enumerating. 7 In sum, Plaintiffs’ allegations that the reinstatement

of the citizenship question will lower response rates is nothing more than speculation. Cf. Carey v.

Klutznick, 637 F.2d 834, 838 (2d Cir. 1980) (finding standing where plaintiffs “have made a showing,”

through a survey conducted by an independent research organization, see Carey v. Klutznick, 508 F.

Supp. 416, 418 (S.D.N.Y. 1980), “that Census Bureau actions in New York State have caused a

disproportionate undercount which will result in loss of representation in Congress”) (emphasis

added).

          Second, even to the extent that there may be a chance of a greater undercount because of the

citizenship question, Plaintiffs’ allegations that they face a substantial risk of losing funding or voting

power as a consequence of any such additional hypothetical undercount also are too speculative to

satisfy Article III. Plaintiffs allege generally that an increased undercount (assuming one occurs) “will

deprive Plaintiffs of crucial federal funds” under a variety of federal programs. FAC ¶ 139; see also id.

¶¶ 138-149. However, Plaintiffs’ allegations do not acknowledge that the allocation of funds under the

cited programs is not generally directly proportional to population but is a function of multiple factors

including, often, the populations of other states. See, e.g., 42 U.S.C. § 1301(a)(8)(A) (Medicaid formula

measuring a state’s per capita income against the national average per capita income); 49 U.S.C.

§ 5305(d)(1) (apportioning public transportation planning funds to states in the relation that the

population of urbanized areas in each state bears to the total population of urbanized areas in all




          This conclusion is confirmed by recent testimony by Dr. Ron Jarmin, performing the
          7

nonexclusive duties of the Director of the Census Bureau, who stated that there is no “definitive
answer” as to whether a citizenship question could produce a differential increase in the non-response
rate and could offer only that the impact in some communities “might be important.” See Testimony,
https://appropriations.house.gov/calendar/eventsingle.aspx?EventID=395239, at 1:41:36, 1:44:20.
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states). Given the complexity of these calculations and the interrelationships among all the states’

funding, these allegations regarding anticipated effect are too speculative to satisfy Article III’s

requirements. See Nat’l Law Ctr. on Homelessness & Poverty v. Kantor, 91 F.3d 178, 185 (D.C. Cir. 1996)

(finding lack of standing where court could not determine “what effect any methodology for counting

the homeless would have on the federal funding of any particular appellant,” noting that “if a more

accurate count would have enlarged some communities’ shares, it likely would have reduced the shares

of other communities”). 8

        Even if Plaintiffs had adequately pled a non-speculative injury regarding loss of funding and

therefore had met their pleading burden for Article III standing, that injury alone would not bring

them within the zone of interests protected by the Constitution’s Enumeration Clause, which has no

relation, and was not intended, to provide funding to states. See Lujan v. Nat’l Wildlife Fed’n, 497 U.S.

871, 883 (1990) (“[A] plaintiff must establish that the injury he complains of … falls within the ‘zone

of interests’ sought to be protected by the statutory provision whose violation forms the legal basis

for his complaint.”); Montesa v. Schwartz, 836 F.3d 176, 195 (2d Cir. 2016). In order for prudential

standing to exist to assert a claim under the Enumeration Clause, Plaintiffs would have to adequately

plead an injury relating to apportionment. They have not. Indeed, the same difficult-to-predict multistate




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          Defendants acknowledge that the court in National Law Center on Homelessness and Poverty was
ruling on a motion for summary judgment and that a number of courts have found allegations of loss
of funding to be sufficient to survive motions to dismiss. See 91 F.3d at 185 (citing cases). But most
of those cases involved post-census challenges to counting methodologies, and none of them involved
a challenge to the mere inclusion of a question on the census form. Defendants also recognize that the
Second Circuit in Carey, in upholding a preliminary injunction requiring the Census Bureau to take
certain actions while the census was ongoing, held that allegations of loss of funding were sufficient
to establish standing. 637 F.2d at 838. Carey did not involve allegations of injuries from the mere
inclusion of a question. Moreover, the court cited New York City’s “present financial condition” in
finding that the city and the state had standing as recipients of federal funds. Defendants respectfully
contend that the layers of speculation required here to conclude that Plaintiffs will be injured by the
addition of one question on the census form distinguishes this case from these prior decisions.
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impact of an undercount, combined with Plaintiffs’ failure to explain the basis for their calculation,

also clouds Plaintiffs’ allegations regarding apportionment.

         Plaintiffs assert that New York and Illinois “risk[] losing additional representation in

Congress” because of an “undercount of immigrant communities in these states” but do not explain

how these conclusions are reached or whether these conclusions take into account potential

undercounting in other states. FAC ¶ 160. Apportionment is a complex process that is determined by

ranking states in order of priority for seats, based on their populations (multiplied by a multiplier). See

2 U.S.C. § 2a(a) (apportionment of existing number of Representatives to occur “by the method

known      as   the   method      of   equal    proportions”);     https://www.census.gov/population/

apportionment/about/computing.html; see generally U.S. Dep’t of Commerce v. Montana, 503 U.S. 442, 461

(1992). Thus, each state’s likelihood of getting seats is affected by its own total population as well as

the population of other states, which may also be moving up or down in the priority listing. Plaintiffs

do not allege that New York and Illinois will remain at risk of losing seats even if potential undercounts in

other states are taken into account. See Ridge v. Verity, 715 F. Supp. 1308, 1318 (W.D. Pa. 1989) (finding no

standing to bring an apportionment claim when “none of the plaintiffs in this case can show which

states would gain and which would lose representation in Congress”).

         In addition, Plaintiffs err in asserting that an undercount of only 157 people will cause Rhode

Island to lose a seat in the House of Representatives. FAC ¶ 158. This allegation is based on the

estimated 2017 population of the states. See Election Data Services, Some Changes in Apportionment

Allocations With New 2017 Census Estimates; But Greater Change Likely by 2020, at 4 (Dec. 26,

2017),      https://www.electiondataservices.com/wp-content/uploads/2017/12/NR_Appor17c3w

TablesMapsC2.pdf. The foregoing report indicates that, under all projections for 2020 population




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counts based on the 2017 population estimates, Rhode Island is virtually certain to lose a seat,

rendering any potential undercount immaterial in this respect. 9 Id.

        Finally, Plaintiffs’ allegations that, at a minimum, they will be required to expend additional

funds in order to counteract the (alleged) effects of the additional question (FAC ¶ 166) are also

insufficient to establish standing. Plaintiffs allege merely that they “will have to expend additional

funding … such as expending resources on greater public outreach … .” Id.; see N.Y. Civil Liberties

Union v. N.Y.C. Transit Auth., 684 F.3d 286, 295 (2d Cir. 2012) (organization must allege “a concrete

injury as a result of the policy”). And these contentions suffer from an even more fundamental flaw,

given that Plaintiffs “cannot manufacture standing merely by inflicting harm on themselves based on

their fears of hypothetical future harm that is not certainly impending,” Clapper, 568 U.S. at 416.

        In sum, Plaintiffs’ allegations do not make out a claim which satisfies the Article III

requirement that a plaintiff’s threatened injury must be “certainly impending” and must not rely on a

“highly attenuated chain of possibilities.” Clapper, 568 U.S at 410.

        2.   Plaintiffs’ alleged injuries are not fairly traceable to the challenged action.

        To ensure that a plaintiff’s allegations of harm are fairly attributable to the challenged action,

it is necessary to allege “a causal nexus between the defendant[s’] conduct and the injury,” such that

the alleged injury is “fairly traceable to the government conduct claimed as illegal.” Heldman v. Sobol,

962 F.2d 148, 156 (2d Cir. 1992). Indeed, the Supreme Court repeatedly has “decline[d] to abandon

[its] usual reluctance to endorse standing theories that rest on speculation about the decisions of

independent actors.” Clapper, 568 U.S. at 414; see also Defs. of Wildlife, 504 U.S. at 561-62. At bottom,

“a federal court [must] act only to redress injury that fairly can be traced to the challenged conduct of

the defendant, and not injury that results from the independent action of some third party not before the


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          Plaintiffs’ allegations regarding redistricting are similarly overly conclusory and do not
identify concretely how they believe the feared increase in undercount will affect state-level districting.
FAC ¶¶ 150-156.
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court.” Simon v. E. Ky. Welfare Rights Org., 426 U.S. 26, 41-42 (1976) (emphasis added); see also Warth v.

Seldin, 422 U.S. at 504 (finding standing lacking where alleged injury resulted from outside forces,

“rather than … respondents’ assertedly illegal acts”).

        Even if Plaintiffs’ allegations here were not inherently speculative, and even accepting all well-

pleaded facts as true, Plaintiffs’ own allegations rely upon the intervening acts of third parties violating

a clear legal duty to participate in the decennial census. See 13 U.S.C. § 221. Specifically, Plaintiffs do

not claim that their threatened injuries—the loss of representation and federal funding—will result

directly from the Secretary’s decision to reinstate a citizenship question on the decennial form. Rather,

Plaintiffs posit that individuals who otherwise would comply with their legal obligation to respond to

the census will be deterred by the reinstatement of a single question from participating in the entire

survey. But that unlawful failure to respond to a legitimate question simply is not “fairly traceable” to

the Secretary. 10

        Moreover, it likely would be impossible to isolate and quantify the number of individuals who

would have responded but for addition of the citizenship question, both because every census

undercounts the population to some degree, see Wisconsin, 517 U.S. at 6, and because there will be no

reliable method to exclude from the total undercount individuals who would refuse to respond

regardless of the citizenship question because of any number of other factors, such as a general



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           In Rothstein v. UBS AG, 708 F.3d 82, 91-92 (2d Cir. 2013), the Second Circuit explained that
“the fact that there is an intervening cause of the plaintiff’s injury may foreclose a finding of proximate
cause but is not necessarily a basis for finding that the injury is not ‘fairly traceable’ to the acts of the
defendant.” Rothstein is inapposite because that opinion concluded only that families of terrorism
victims could fairly trace their injuries to a bank’s decision to provide funds to Iran, a designated state
sponsor of terrorism, in violation of U.S. sanctions—a scenario not remotely analogous to the
Secretary’s decision to collect information from the U.S. populace. Moreover, Rothstein was decided
roughly two weeks before the Supreme Court’s decision in Clapper, which reversed and criticized the
Second Circuit’s formulation of the traceability requirement. As Clapper made clear, “Plaintiffs cannot
rely on speculation about the unfettered choices made by independent actors not before the court.”
568 U.S. at 414 n.5 (internal quotation omitted). Clapper, therefore, supersedes Rothstein’s explication
of the traceability requirement.
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reluctance to provide information to the government or the current political climate. See Himber v.

Intuit, Inc., 10-CV-2511 (JFB)(AKT), 2012 WL 4442796, at *9 (E.D.N.Y. Sept. 25, 2012) (“No standing

exists for … hypothetical, speculative harm that [i]s preventable only by the discretionary decisions of

third parties.”).

        Plaintiffs also cannot premise standing on injuries allegedly produced by state-level

redistricting actions following the census, as states are not required to use unadjusted census figures

in such actions. See Evenwel v. Abbott, 136 S. Ct. 1120, 1124 & n.3 (2016). Accordingly, a state’s decision

to use such figures is another independent action by a third party that breaks the chain of causation.

See City of Detroit v. Franklin, 4 F.3d 1367, 1374 (6th Cir. 1993).

        B.          Plaintiffs’ Suit is Barred by the Political Question Doctrine.

        Even if Plaintiffs had standing, their claims still must be dismissed because they are barred by

the political question doctrine. The Constitution provides that Representatives “shall be apportioned

among the Several States … according to their respective Numbers,” which requires “counting the

whole number of persons in each State.” U.S. Const. amend. XIV, § 2. To calculate the “number of

persons in each State,” the Enumeration Clause requires an “actual Enumeration” every 10 years “in

such Manner as [Congress] shall by Law direct.” Id. art. I, § 2, cl. 3. This Clause says only two things

about the census: (1) there must be a decennial, person-by-person headcount of the population, and

(2) the manner of conducting the census is up to Congress. The former command presents a judicially

cognizable question that courts have routinely answered; the latter presents a nonjusticiable political

question reserved for Congress and, through Congress’s delegation, for the Secretary.

        This case implicates only the latter question because it does not involve whom to count, how

to count them, or where to count them. Indeed, Plaintiffs themselves admit that the Secretary will

conduct a person-by-person headcount of population. See FAC ¶¶ 24, 32, 47, 54, 70, 75, 76. Thus,

only the Enumeration Clause’s “[m]anner” prong is at issue here, as this case concerns simply the


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“[m]anner” by which the Secretary performs the information-gathering function of the census. Judicial

review of that question is barred by the political question doctrine.

        The political question doctrine is “primarily a function of the separation of powers,” Baker v.

Carr, 369 U.S. 186, 210 (1962), and “is designed to restrain the Judiciary from inappropriate

interference in the business of the other branches of Government,” United States v. Munoz-Flores, 495

U.S. 385, 394 (1990). The doctrine “excludes from judicial review those controversies which revolve

around policy choices and value determinations constitutionally committed for resolution to the halls

of Congress or the confines of the Executive Branch.” Japan Whaling Ass’n v. Am. Cetacean Soc’y, 478

U.S. 221, 230 (1986). The functional nature of this doctrine requires a case-by-case inquiry into “the

precise facts and posture of the particular case.” Baker, 369 U.S. at 217; see Klinghoffer v. S.N.C. Achille

Lauro Ed Altri-Gestione, 937 F.2d 44, 49 (2d Cir. 1991) (“[T]he doctrine is one of political questions,

not one of political cases.” (internal quotation marks omitted)).

        Six factors inform whether a case presents a nonjusticiable political question:

                [1] a textually demonstrable constitutional commitment of the issue to
                a coordinate political department; or [2] a lack of judicially discoverable
                and manageable standards for resolving it; or [3] the impossibility of
                deciding without an initial policy determination of a kind clearly for
                nonjudicial discretion; or [4] the impossibility of a court’s undertaking
                independent resolution without expressing lack of the respect due
                coordinate branches of government; or [5] an unusual need for
                unquestioning adherence to a political decision already made; or [6] the
                potentiality of embarrassment from multifarious pronouncements by
                various departments on one question.

Baker, 369 U.S. at 217; see also Whiteman v. Dorotheum GmbH & Co. KG, 431 F.3d 57, 70 (2d Cir. 2005).

While the first two factors are most important, see Zivotofsky ex rel. Zivotofsky v. Clinton, 566 U.S. 189,

195 (2012) (examining only the first two factors); Vieth v. Jubelirer, 541 U.S. 267, 278 (2004) (observing

that the factors are “probably listed in descending order of both importance and certainty”), the

presence of any one of these factors can render a case nonjusticiable. See Whiteman, 431 F.3d at 70

(referencing the six factors as six “independent tests”); Schneider v. Kissinger, 412 F.3d 190, 194 (D.C.
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Cir. 2005) (“To find a political question, we need only conclude that one factor is present, not all.”).

This case presents not one, but at least three factors that render this controversy nonjusticiable.

        1. The content of the census questionnaire is textually committed to Congress.

        While the Enumeration Clause requires an “actual Enumeration” every 10 years, it also states

that the census will be conducted “in such Manner as [Congress] shall by Law direct.” U.S. Cons. art.

I, § 2, cl. 3. The plain text of this Clause commits the “[m]anner” of conducting the Census to the

sound discretion of Congress, thus satisfying the first and most important political question factor.

        By using the phrase “in such Manner” to modify the phrase “[t]he actual Enumeration shall

be made,” the Constitution makes clear that Congress fully controls the manner in which the decennial

census is conducted. Dictionaries roughly contemporaneous with the ratification of the Constitution

demonstrate that the “[m]anner” of conducting the Census necessarily includes control over the

census questionnaire. 11 The census questionnaire is quite literally the “form” of the census, 12 and it is

the “method” by which an “actual Enumeration” is conducted—i.e., the census is completed by

inhabitants filling out the census questionnaire. Plaintiffs’ challenge to the content of census questions

thus goes directly to the “way of performing or executing” the census itself, a determination that is

constitutionally entrusted to Congress.

        Accordingly, the remedy for an unwise census question lies not in the courts, but in Congress.

It is Congress to whom the Constitution entrusts the “[m]anner” of conducting the census, and only

Congress can overturn the Secretary’s decision to reinstate the citizenship question. The Census Act

even requires the Secretary to report census questions to Congress two years prior to the Census for


        11
           Noah Webster’s 1828 American Dictionary of the English Language defines “manner” as
“form; method; way of performing or executing,” and Thomas Sheridan’s 1796 Complete Dictionary
of the English Language (6th ed.) defines “manner” as “form, method” or “habit, fashion.” See Dep’t
of Commerce v. U.S. House of Representatives, 525 U.S. 316, 346-47 (1999) (Scalia, J., concurring in part)
(examining the text of the Enumeration Clause by referencing these dictionaries).
        12
           See Form, Sheridan’s Complete Dictionary of the English Language (6th ed. 1796) (defining
“form” as “[t]he external appearance of any thing, shape; particular model or modification”).
                                                    23
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this exact reason: to allow the Legislative Branch adequate time to consider the propriety of these

questions. 13 U.S.C. § 141(f)(2). That congressionally established process further underscores what

the Constitution’s text makes clear: that Congress, note the courts, determines the form of the census.

This case should therefore be dismissed as a nonjusticiable political question.

        2. The Court has no judicially manageable standards to make the necessarily policy-
           based determinations regarding the content of the census questionnaire.

        The second and third political question factors also preclude the Court’s intervention because

there are no judicially manageable standards for making policy decisions regarding census procedures,

such as the content of the census questionnaire.

        The text and history of the Enumeration Clause unequivocally demonstrate that decisions

regarding the information-gathering procedures of the census are fully committed to Congress’s

discretion. The reason for this constitutional delegation is axiomatic: each census procedure—from

the types of advertising and the use of different languages to promote the census, to the number of

regional census offices and the particular systems used to tabulate responses, to the number of

enumerators to hire and the process for in-person enumeration visits—requires a careful balancing of

considerations such as cost, testing, training, effectiveness, timing, informational need, and accuracy. 13

        These considerations are quintessentially policy choices outside the province of the judiciary.

In this case, for example, the Secretary balanced the need for citizenship information with the cost

and effectiveness of efforts to mitigate non-responses, the possibility of lower response rates, the cost

of increased non-response follow-up procedures, and the completeness and cost of administrative

records. There are no judicially manageable standards for determining how to weigh these factors,

which do not implicate the affirmative constitutional command to count, rather than estimate, the



        13
          These considerations are present to some degree when the Secretary decides who, where,
and how to count inhabitants of the United States, which is why the Supreme Court defers to the
Secretary’s judgment in calculation-methodology cases. See Wisconsin, 517 U.S. at 19.
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population. Once a court ventures beyond that affirmative constitutional command, there is simply

no law to apply; it is in the realm of cost/benefit analyses and value judgments constitutionally

entrusted to representatives of the people and executive officials confirmed by the same. Japan Whaling,

478 U.S. at 230.

       The census-related cases decided by the Supreme Court are distinguishable. All have

concerned calculation methodologies, not pre-count information-gathering functions or content

determinations. See, e.g., Utah v. Evans, 536 U.S. 452, 452 (2002) (“hot-deck imputation”—a non-

sampling process which infers characteristics of individuals based upon the characteristics of

neighbors, resulting in inclusion of individuals who otherwise would be excluded—did not violate the

Enumeration Clause); Dep’t of Commerce, 525 U.S. at 316 (holding that statistical sampling violates the

Census Act, 13 U.S.C. § 195, and declining to reach Enumeration Clause claim); Wisconsin, 517 U.S. at

1 (holding that Secretary did not violate Enumeration Clause by failing to correct census undercount

with data from a post-enumeration survey); Franklin, 505 U.S. at 788 (confirming that method used

to count federal employees serving overseas did not violate Enumeration Clause). The Constitution

supplies a simple judicial standard for determining the constitutionality of such practices—the

Secretary must perform a person-by-person headcount, rather than an estimate of population. There

is nothing incomprehensible about the standard itself.

       In stark contrast, there is no judicially discernible standard for determining whether the

Secretary’s decision to reinstate the citizenship question on the 2020 decennial census is

unconstitutional. This is a “policy choice[] and value determination[] constitutionally committed for




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resolution to the halls of Congress [and] the confines of the Executive Branch.” Japan Whaling, 478

U.S. at 230. 14 Thus, this case is barred from judicial consideration by the political question doctrine. 15

        C.      The Secretary’s Decision Is Not Subject to Judicial Review Under the
                Administrative Procedure Act.

        The APA bars judicial review of certain categories of decisions that “courts traditionally have

regarded as ‘committed to agency discretion.’” Lincoln v. Vigil, 508 U.S. 182, 191 (1993) (quoting 5

U.S.C. § 701(a)(2)). Agency action is committed to agency discretion by law where “‘statutes are drawn

in such broad terms that in a given case there is no law to apply,’” Citizens to Preserve Overton Park, Inc.,

v. Volpe, 401 U.S. 402, 410 (1971) (internal quotation omitted). These decisions are not amenable to

judicial review because there exists “no meaningful standard against which to judge the agency’s

exercise of discretion” in these areas. Webster v. Doe, 486 U.S. 592, 600 (1988); see also Lunney v. United

States, 319 F.3d 550, 558 (2d Cir. 2003) (§ 701(a)(2)’s “limitation on the APA’s waiver of immunity

means that there is no jurisdiction if the statute or regulation said to govern the challenged agency

action ‘is drawn so that a court would have no meaningful standard against which to judge the agency’s



        14
            Although the Second Circuit once rejected an argument that a challenge to census
procedures constituted a political question, see Carey v. Klutznick, 637 F.2d at 838, that opinion contains
such scant analysis as to constitute the type of “drive-by jurisdictional ruling[]” that “ha[s] no
precedential effect,” Steel Co. v. Citizens for a Better Environment, 523 U.S. 83, 91 (1998). Moreover, that
case challenged only the procedures put in place to conduct the actual count—not the form of the
questionnaire itself. The analysis in Carey therefore does not control this Court’s resolution of the
argument presented here.
         15
            The Court’s apportionment cases are also inapposite. The Supreme Court has routinely
decided cases involving congressional districting by States on the theory that the Constitution requires
“equal representation for equal numbers of people.” Wesberry v. Sanders, 376 U.S. 1, 18 (1964). And the
Court similarly has decided that challenges to the way in which Congress allocates congressional seats
are justiciable. See U.S. Dep’t of Commerce v. Montana, 503 U.S. at 459 (noting that Congress is granted
more deference than states in apportionment). But the nature of those controversies provided easily
administrable standards for courts to apply: the number of people in each congressional district. See
Wesberry, 376 U.S. at 2 (observing that one of Georgia’s congressional districts contained more than
twice as many residents as its other 10 districts); Tucker v. Dep’t of Commerce, 958 F.2d 1411, 1418 (7th
Cir. 1992) (noting that the Supreme Court’s reapportionment cases “authorize the courts to intervene
in the process of apportioning representatives,” because “[e]quality of voting power is an administrable
standard”).
                                                     26
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exercise of discretion’”). This bar applies, moreover, even when “the agency gives a ‘reviewable’ reason

for otherwise unreviewable action.” ICC v. Bhd. of Locomotive Eng’rs (“BLE”), 482 U.S. 270, 283 (1987).

        As the Supreme Court repeatedly has emphasized, application of § 701(a)(2)’s bar on judicial

review “requires careful examination of the statute on which the claim of agency illegality is based,”

Webster, 486 U.S. at 600, along with whether the matter traditionally has been viewed as committed to

agency discretion, BLE, 482 U.S. at 282, or whether the challenged action manifests a “general

unsuitability” for judicial review because it involves a “complicated balancing of a number of factors,”

difficult judgments concerning the proper allocation of agency resources, or matters uniquely

committed to another branch of government, Heckler v. Chaney, 470 U.S. 821, 831-32 (1985). These

factors compel the conclusion here that the Secretary’s decision to reinstate on the decennial census a

request for citizenship data is—just like the conduct of the census generally—a classic example of a

discretionary determination that is committed to the discretion of the Secretary of Commerce and

thus not subject to judicial review.

        In the first place, the applicable section of the Census Act, 13 U.S.C. § 141(a), contains no

standards against which to assess the Secretary’s exercise of discretion (particularly with regard to a

matter as fundamental as the form and content of the questionnaire itself). Far from confining the

Secretary’s discretion, the statute delegates it in the broadest terms: “The Secretary shall … take a

decennial census of population … in such form and content as he may determine,” and, “[i]n connection with

any such census, the Secretary is authorized to obtain such other census information as necessary.” 13

U.S.C. § 141(a) (emphases added). This plain language confers discretion as broad as that granted by

the statute at issue in Webster, 486 U.S. at 600, which allowed the CIA Director to terminate an

employee whenever he “shall deem such termination necessary or advisable in the interests of the

United States.” The language of § 141(a) contains similar “deeming” language—the census is to be

conducted as the Secretary “may determine.” And, just as the CIA Director’s decision that terminating

                                                   27
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an employee is “necessary or advisable” is immune from judicial review, so too is the Secretary’s

decision to collect information through the decennial census “as necessary” and “in such form and

content as he may determine.” As in Webster, this statutory scheme embodies deference to the

Secretary, and forecloses the application of any meaningful judicial review. See Schneider v. Feinberg, 345

F.3d 135, 148-49 (2d Cir. 2003) (explaining that jurisdiction will not lie where “no standard of review—

other than the APA’s ‘arbitrary and capricious’ standard itself—governs”).

        It is thus unsurprising that, even in cases challenging calculation methodologies under the

Enumeration Clause, courts have construed the “conduct” of the census as generally unfit for judicial

interference. As the Supreme Court has explained:

                 The text of the Constitution vests Congress with virtually unlimited
                 discretion in conducting the decennial “actual Enumeration,” see Art.
                 I, § 2, cl. 3, and notwithstanding the plethora of lawsuits that inevitably
                 accompany each decennial census, there is no basis for thinking that
                 Congress’ discretion is more limited than the text of the Constitution
                 provides. … Through the Census Act, Congress has delegated its
                 broad authority over the census to the Secretary.

Wisconsin, 517 U.S. at 19 (emphasis added). The Supreme Court’s explication of the political branches’

virtually unlimited discretion is highly probative of whether the Secretary’s decisions exercising that

discretion are subject to judicial review. 16

        Similar concerns led the Seventh Circuit to conclude that the absence of “guidelines for an

accurate decennial census” from the Constitution, the Census Act, and the APA itself creates “the

inference . . . that these enactments do not create justiciable rights.” Tucker, 958 F.2d at 1417 (“So

nondirective are the relevant statutes that it is arguable that there is no law for a court to apply in a

case like this, that you might as well turn it over to a panel of statisticians and political scientists and


        16
            Although Justice Stevens’s concurrence in Franklin v. Massachusetts, 505 U.S. at 816-20,
concluded that the conduct of the census is not committed to agency discretion by law, this opinion
failed to garner a majority of the Court and therefore lacks precedential value. It also predated Wisconsin
and cannot be squared with the language in that unanimous opinion to the effect that Congress has
delegated its virtually unlimited discretion to the Secretary.
                                                     28
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let them make the decision, for all that a court could do to add its rationality or fairness.”) (internal

citations omitted); see also id. at 1419 (Ripple, J., concurring) (“[T]he plain language of the governing

statute makes it clear that the matter is committed to agency discretion.”); Senate of State of Cal. v.

Mosbacher, 968 F.2d 974, 977-79 (9th Cir. 1992) (finding “no law to apply” under the Constitution and

Census Act); City of Phila. v. Klutznick, 503 F. Supp. 663, 677 (E.D. Pa. 1980) (recognizing danger of

permitting local governments to manipulate conduct of census through judicial review). 17

        Nor can Plaintiffs identify any meaningful standards derived from any other statute, regulation,

or historical practice against which to judge the Secretary’s choice of content for the census

questionnaire, further demonstrating that there is no law to apply in this case. To the contrary, the

long history of decennial censuses since ratification of the Constitution establishes a tradition of

commitment of the general conduct of the census to the Secretary’s discretion, subject to oversight

only by Congress. Furthermore, the longstanding historical practice of including citizenship, dating

back to 1820, see supra, Background § II, coupled with the fact that no challenge to the subject matter

of the census questions has ever been successfully maintained (much less attempted), strongly

countenances the conclusion that this matter traditionally has been viewed as discretionary.

        Tellingly, Congress has reserved to itself the responsibility for oversight of the Secretary’s

performance and correction of any perceived defects in the census without the intrusive and

fragmenting involvement of numerous—and often competing—lawsuits. Section 141(f) of the Census




        17
           The Second Circuit’s determination that a Census Act challenge could be reviewed under
the APA in Carey, 637 F.2d at 838, should be rejected for much the same reasons as its conclusion
regarding the political question doctrine, see supra Note 14. Not only did the court engage in little
analysis of the question, but its reasoning belies its application here. The court concluded that
“appellees allege an impairment of their ‘right to a vote free of arbitrary impairment,’ a matter which
cannot, of course, be foreclosed from judicial review by operation of the Administrative Procedure
Act.” Id. (internal citation omitted). By contrast, Plaintiffs here do not allege an impairment of their
right to an unimpeded vote. Furthermore, as noted above, Carey dealt with census procedures, not the
information collected through the questionnaire.
                                                   29
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Act requires the Secretary to submit to Congress “not later than 2 years before the appropriate census

date, a report containing the Secretary’s determination of the questions proposed to be included in

such census.” Plaintiffs’ challenge here arises from the Secretary’s decision to include in that report a

planned question regarding citizenship. FAC ¶ 1.

        But the fact that the final agency action challenged here takes the form of a statutorily

mandated report to Congress only underscores that Congress intended that it would address any

defects in those questions, not courts in suits brought against Executive Branch officers after the report

has been transmitted. By expressly reserving to itself the power to review the Secretary’s exercise of

his discretion, Congress foreclosed the courts from second-guessing his judgment as to the content

of the census questionnaire. Cf. Armstrong v. Bush, 924 F.2d 282, 290-91 (D.C. Cir. 1991) (holding that

Presidential Records Act impliedly precludes judicial review because it “would upset the intricate

statutory scheme Congress carefully drafted to keep in equipoise important competing political and

constitutional concerns”). In the end it is for Congress, not this Court, to review the Secretary’s

exercise of his delegated discretion to determine which demographic questions to ask in the census.

II.     PLAINTIFFS FAIL TO STATE A CLAIM UNDER THE ENUMERATION
        CLAUSE

        Even if this case were justiciable, Plaintiffs’ Enumeration Clause claim should be dismissed.

The Constitution does not forbid the census from asking whether a person is a U.S. citizen. The

Constitution’s reference to “actual Enumeration” is simple: population is to be determined through a

person-by-person headcount, rather than through estimates or conjecture. There is no allegation that

the Secretary is estimating rather than counting the population, nor any allegation that he has failed to

establish procedures for counting every resident of the United States. The Enumeration Clause is

therefore satisfied. Moreover, the Secretary’s decision to reinstate a citizenship question is consistent

with historical practice dating back to the founding era. The census has collected demographic

information since its first iteration in 1790, and it asked citizenship-related questions as early as 1820,
                                                    30
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and in many enumerations since then. The Secretary has complied fully with the Constitution, and

Plaintiffs’ Enumeration Clause claim should be dismissed.

        Plaintiffs themselves recognize that the Secretary will conduct a headcount of population. See

FAC ¶¶ 24, 32, 47, 54, 70, 75, 76. As described above at Background § IV, the Census Bureau has

comprehensive procedures in place for non-response follow up and will attempt to contact nearly

every person in the country, utilizing up to six mailings and an in-person visit by an enumerator. 2020

Census Operational Plan, at 88-92, 112-21. These operations in place for 2020 are more wide-ranging

and more advanced than the operations performed in any previous decennial census. Indeed, the FAC

contains no allegations that the Secretary has failed to establish procedures for counting every resident

of the United States; as the extensive 2020 census operations make clear, a complete and accurate

person-by-person enumeration of the population is fully contemplated.

        Furthermore, while in every census the possibility of an undercount exists, the Constitution

does not require perfection. See Utah, 536 U.S. at 504 (Thomas, J., concurring in part and dissenting

in part) (canvassing the history of census undercounts, including the first Census in 1790); Wisconsin,

517 U.S. at 6 (“Although each [of the 20 past censuses] was designed with the goal of accomplishing

an ‘actual Enumeration’ of the population, no census is recognized as having been wholly successful

in achieving that goal.”); Gaffney v. Cummings, 412 U.S. 735, 745 (1973) (census data “are inherently less

than absolutely accurate”); Carey v. Klutznick, 653 F.2d 732, 735 (2d Cir. 1981) (“Although the

mechanics of the counting process have been improved in each of the nineteen ensuing censuses,

there has never been a perfect count.”). As long as the Secretary has established procedures for

counting every resident of the United States—and there is no allegation he has not—any undercount

is the constitutionally permissible result of attempting to enumerate upwards of 325 million people

across 3.8 million square miles. See https://www.census.gov/popclock/.




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        Historical practice confirms that the Secretary’s decision to reinstate a citizenship question on

the 2020 census cannot convert an otherwise constitutional headcount into a violation of the

Enumeration Clause. See Wisconsin, 517 U.S. at 21 (noting the importance of historical practice when

examining Enumeration Clause issues); Franklin, 505 U.S. at 803-06 (same). Despite the Constitution’s

reference only to “the whole number of persons in each State,” see U.S. Const. amend. XIV, § 2, every

census since 1790 has collected demographic information beyond the number and location of

inhabitants. Morales v. Daley, 116 F. Supp. 2d 801, 809 (S.D. Tex. 2000), aff’d, 275 F.3d 45 (5th Cir.

2001). In fact, the First Census in 1790 asked about age, race, and sex. Census Act of 1790, § 1, 1 Stat.

101 (1790). Further, a wide range of demographic questions were asked in subsequent decennial

censuses and will be asked in 2020. 18 As detailed above, Background § II, these broad demographic

questions included citizenship-related questions as early as 1820 and continuing (on the long-form

questionnaire) through the 2000 census. Although the long-form questionnaire was discontinued after

the 2000 Census, citizenship questions have been asked on the American Community Survey to a

sample of the population—about one in 38 households—every year since 2005. See ACS

Questionnaire Archive, https://www.census.gov/programs-surveys/acs/methodology/

questionnaire-archive.html (noting citizenship questions on every ACS questionnaire). Thus,

citizenship questions have a long and established history in the census. 19




        18
           Throughout the Nineteenth Century, demographic information on the Census expanded to
include questions such as the number of persons “engaged in agriculture, commerce, and
manufactures,” Census Act of 1820, 3 Stat. 548 (1820), the “[p]rofession, occupation, or trade of each
person over 15 years of age,” the “value of real estate owned,” and whether persons over age 20 could
read and write, Census Act of 1850, 9 Stat. 430 (1850).
        19
           There is nothing inherently suspect about a country asking its residents for citizenship
information. Indeed, the United Nations recommends that its member countries ask their residents
for such information during censuses. United Nations, Department of Economic and Social Affairs,
Principles and Recommendations for Population and Housing Censuses, § 4.110,
https://unstats.un.org/unsd/publication/seriesM/Series_M67rev3en.pdf.
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        Plaintiffs’ theory, taken to its logical conclusion, would mean that the Enumeration Clause

prohibits any demographic questions on the census questionnaire that may theoretically reduce

response rates and cause some entirely speculative undercount. Under that standard, the long-form

questionnaire would have been unconstitutional, given that the long-form questionnaire replaced the

short form for a subset of population in previous censuses and elicited a substantially lower response

rate. See Census Topic Report No. 11, Response Rates and Behavior Analysis, at 9

https://www.census.gov/pred/www/rpts/TR11.pdf (concluding that mail-back response rate for

2010 long form was 9.6% lower than short form). And many of the questions on the current and prior

short forms—such as questions about sex, Hispanic origin, race, and relationship status—would also

be called into question, as some people might prefer not to answer those questions as well.

        But courts have universally approved the historical practice of gathering demographic

information. See, e.g., Legal Tender Cases, 79 U.S. 457, 536 (1870)(“Congress has repeatedly directed . . .

not only an enumeration of persons but the collection of statistics respecting age, sex, and production.

Who questions the power to do this?”); abrogated on other grounds, Tahoe-Sierra Preservation Council, Inc. v.

Tahoe Reg’l Planning Agency, 535 U.S. 302 (2002); Dep’t of Commerce, 525 U.S. at 341 (such questions, the

Court has recognized, serve as “a linchpin of the federal statistical system by collecting data on the

characteristics of individuals, households, and housing units throughout the country.”) (quoting

National Research Council, Counting People in the Information Age 1 (D. Steffey & N. Bradburn

eds. 1994)). 20 Indeed, the Supreme Court has consistently held that such longstanding historical

practice is powerful evidence of constitutionality. See Nat’l Labor Relations Board v. Noel Canning, 134 S.




        20
          On the rare occasions that census questions have been challenged as unconstitutional—
usually on Fourth and Fifth Amendment grounds—lower courts have dismissed such contentions out
of hand. United States v. Rickenbacker, 309 F.2d 462, 463 (2d Cir. 1962) (Marshall, J.), cert. denied, 371
U.S. 962 (1963); Morales v. Daley, 116 F. Supp. 2d at 814-15; United States v. Little, 321 F. Supp. 388, 392
(D. Del. 1971); United States v. Moriarity, 106 F. 886, 891 (S.D.N.Y. 1901).
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Ct. 2550, 2559 (2014). As noted above, all decennial censuses have included demographic inquiries,

and the 2020 questionnaire is no different. In fact, the 2020 questionnaire will include questions about

race, sex, and relationship status, which might also cause a theoretical undercount and could then be

called into question under Plaintiffs’ own theory.

        Plaintiffs do not challenge any aspect of the 2020 census that might infringe the Enumeration

Clause’s command to conduct a person-by-person headcount of the population. Instead, Plaintiffs’

challenge focuses entirely on the Secretary’s information-gathering decision to reinstate a citizenship

question on the 2020 Census. This is as meritless as it is unprecedented. Even when the Supreme

Court struggled to distinguish between unconstitutional estimates and acceptable enumeration in

calculation-methodology cases, 21 it has recognized that the Clause “vests Congress with virtually

unlimited discretion in conducting the decennial” census. Wisconsin, 517 U.S. at 19; see Utah, 536 U.S.

at 474 (explaining that the Clause’s language indicates “the breadth of congressional methodological

authority, rather than its limitation”). And in light of this discretion, the Supreme Court has never

invalidated the Secretary’s population count on Enumeration Clause grounds. See Utah, 536 U.S. at

474 (holding “hot-deck imputation” permissible under the Enumeration Clause); Dep’t of Commerce,

525 U.S. at 344 (holding that statistical sampling violates the Census Act and declining to reach

Enumeration Clause claim); Wisconsin, 517 U.S. at 1; Franklin, 505 U.S. at 788. This case presents no

reason to break from those precedents.

        The Secretary’s decision to reinstate a citizenship question was well within his discretion and

is fully consistent with the Constitution’s text, longstanding historical practice, and judicial precedent.

Plaintiffs’ theory, by contrast, would deem virtually every census questionnaire in the Nation’s history




        21
           See, e.g., Utah, 536 U.S. at 452 (four separate opinions regarding “hot-deck imputation”);
Dep’t of Commerce, 525 U.S. at 316 (five separate opinions regarding statistical sampling); Franklin, 505
U.S. at 788 (three separate opinions regarding how to count federal employees serving overseas).
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unconstitutional. The choice between those options is clear: Plaintiffs’ Enumeration Clause claim

should be dismissed.

                                           CONCLUSION

       For the foregoing reasons, the Court should grant Defendants’ motion and dismiss this case.



                                             Respectfully submitted,

GEOFFREY S. BERMAN                           CHAD A. READLER
United States Attorney for the               Acting Assistant Attorney General
Southern District of New York
86 Chambers St., 3rd Floor                   BRETT A. SHUMATE
New York, NY 10007                           Deputy Assistant Attorney General

                                             JOHN R. GRIFFITHS
                                             Director, Federal Programs Branch


                                             CARLOTTA P. WELLS
                                             Assistant Branch Director

                                             /s/ Kate Bailey
                                             KATE BAILEY
                                             STEPHEN EHRLICH
                                             CAROL FEDERIGHI
                                             Trial Attorneys
                                             United States Department of Justice
                                             Civil Division, Federal Programs Branch
                                             20 Massachusetts Ave., N.W.
                                             Washington, DC 20530
                                             Tel.: (202) 514-9239
                                             Fax: (202) 616-8470
                                             Email: kate.bailey@usdoj.gov

                                             Counsel for Defendants




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